                                          May 17, 2022

BY ECF

The Honorable Judge Sidney H. Stein
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jennifer Shah, et al., 19 Cr. 833 (SHS)

Dear Judge Stein:

        As the Court is aware, we represent Jennifer Shah in the above-referenced matter which
is currently set for trial on July 11, 2022. At the telephone conference on Friday, May 13, 2022,
the Court indicated that Ms. Shah’s trial—which the parties predict may last 4-5 weeks—may
not begin on July 11, or in July at all, due to the Court’s schedule. For the reasons set forth
below, I respectfully request that, should the Court be unable to begin this trial in July of this
year, the Court reassign this matter to another judge whose schedule could accommodate a July
start date for Ms. Shah’s 4-5-week trial.

        First, Ms. Shah was arrested and indicted in March 2021. Her trial was initially set for
October 18, 2021, and then moved twice, to March 22, 2022, and July 11, 2022—due to COVID-
19 courtroom protocols and courtroom availability. Ms. Shah has always requested the first trial
date possible and to that end, in January of this year (when Ms. Shah’s trial was set for March
22), I submitted a letter requesting the Court consult the Southern District of New York’s Ad-
Hoc Committee to ensure that Ms. Shah’s trial would either start on March 22, or (if that was not
possible) on a firm date in the second quarter of this year. See ECF No. 435. Unfortunately, due
to courtroom unavailability, we were not able to begin on March 22 or secure a date in the
second quarter, and thus Ms. Shah and her counsel have been preparing for a July 11th start date.

        Second, though Ms. Shah is not in custody, the continued long delays in her trial date
have been extremely difficult for her and her family and have presented an undue hardship. In
addition, another delay of Ms. Shah’s trial date would pose a significant hardship on my small
law firm. In order to effectively prepare for Ms. Shah’s trial, which requires months of
preparation given the millions of documents produced in discovery, we all have adjusted our
schedules and other cases to block out 4-5 weeks in October 2021, then in March 2022, and then
again in July 2022. For a firm of our size, this poses a tremendous hardship because we do not



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have the resources to constantly reallocate our personnel when we need to be prepared for a trial
of this length and complexity. Also, our firm has other potential trials which have been difficult
to schedule due to the continued uncertainty of the trial date in this matter.

        I do not make this request lightly, but after three successive lengthy delays, we believe
that the interests of justice and our client require that the trial in this matter move forward as
expeditiously as possible. Based on my own experience, I know that it is not uncommon for
cases to be reassigned in this district, even on the eve of trial, when a court’s calendar does not
permit a trial to commence as scheduled. I am respectfully requesting that Your Honor take this
into consideration and reassign the case if possible.

         For the reasons set forth above, we respectfully request the Court to begin Ms. Shah’s
trial in July of 2022 or, if it cannot, then to reassign it to another judge.



                                         Very truly yours,



                                          Priya Chaudhry




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